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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 A.M., by and through his mother and
 next friend, Aparna Deora, Ph.D.,

                        Plaintiff,
                                                           Case No. 4:20-CV-00553
          v.

 BRIDGECREST ACCEPTANCE
 CORPORATION d/b/a BRIDGECREST,

                        Defendant.

            DEFENDANT BRIDGECREST ACCEPTANCE CORPORATION d/b/a
                       BRIDGECREST’S MOTION TO STAY

         Defendant Bridgecrest Acceptance Corporation d/b/a Bridgecrest (“Bridgecrest”)

respectfully moves the Court to stay this action. There are two cases before the United States

Supreme Court that will significantly impact this case. The first is Barr v. American Association

of Political Consultants, Appeal No. 19-631, which concerns the very existence of the Telephone

Consumer Protection Act (“TCPA”). The Political Consultants case has been fully briefed and

argued and is awaiting decision. A petition for certiorari also is pending in the United States

Supreme Court in Facebook, Inc. v. Duguid, Appeal No. 19-511. The Court considered the petition

for certiorari in January 2020 but has yet to grant or deny certiorari.

         If the Supreme Court declares the TCPA unconstitutional in Political Consultants, the

Facebook appeal will be moot. If the TCPA remains a viable statute following the Political

Consultants decision, it appears likely that the Supreme Court would grant certiorari in the

Facebook case to decide the definition of an “automatic telephone dialing system” under the

TCPA. What constitutes an “automatic telephone dialing system” will be central to resolving the

case at bar. Thus, Bridgecrest seeks this Court’s Order staying this case until resolution of the


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Political Consultants and Facebook appeals by the United States Supreme Court. The arguments

and authorities supporting Bridgecrest’s Motion are fully set forth in the accompanying

Memorandum in Support of the same. Notably, at least one other Court in this District has stayed

a Telephone Consumer Protection Act case on the same basis as Bridgecrest seeks here. See

Seefeldt v. Entertainment Consulting International, LLC, et al., --- F.Supp.3d ---, 2020 WL

905844, Case No. 4:19-cv-00188 (E.D. Mo. Feb. 25, 2020).

         WHEREFORE Bridgecrest respectfully requests this Court enter an Order staying this

action pending the Supreme Court’s decisions in Barr v. American Association of Political

Consultants, Appeal No. 19-631, and Facebook v. Druguid, Appeal No. 19-511, and for such other

and further relief as the Court deems just and equitable.



Dated: May 21, 2020                           Respectfully submitted,

                                              By: /s/Juliet A. Cox
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                                                 ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on this 21st day of May, 2020, a true and
correct copy of the above and foregoing document was filed with the Court’s CM-ECF system
which will provide notice to all counsel of record.


                                                  /s/ Juliet A. Cox
                                                  ATTORNEY FOR DEFENDANT




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